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UNITED STATES DIsTRICT CoURT
FoR THE NoRTHERN DIsTRlC'r oF TEXAs

 

 

 

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P/czl`)zti'[]` §

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V § Case No. 3:]7-cv~0297l-B

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Pacif`le Union Financial, LlaC, et al. §
D€fe)ic/a)i! §

APPLICATION FOR ADMISSION PRO HAC VICE
(Complete all questions; indicate “N/A” if necessary.)

 

I. /\pplicant is an attorney and a member of the law firm of(or practices under the name of)

vl`vree P. Jones` Jr. , with offices at

Reed Smith. LLP, 1301 K Street` NW. Suite 1000 - East Tower
(Strcct Addrcss)

 

 

 

Washington DC 20005
((`ity) (State) (Zip Code)
202.4l4.9296 202.4l4.9299

('l`elephone No.) (Fax No,)

ll. Applicant will sign all filings with the name L/ree P. Jones, Jr.

 

lII. Applicant has been retained personally or as a member ofthe above-named firm by:

(List /\ll Parties Represented)

Valerie Coleman, Caitlin V. Cooke, Eduardo Creque, Jessiea l\/l. Furr (Keen), Kathly Keller, Fouad
Naghmi, 'I`ammy Neal` Charles F. Peer, l\/Iiehaelene Whyte and l\/lelissa Wi|loby

to provide legal representation in connection with the above-styled matter now pending before the United

States District Court for the Northern Distriet ofTeXas.

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lV.

 

Applicant is a member in good standing ofthe bar ofthe highest court ofthe state of

For (`ourt Use ()nly.

Bar StutusVerified:
California , where Applicant regularly practices law.

 

Bar license number: 127631 Admission date: June l'/" l987

 

 

Attach to this application an original certificate of good standing issued within the past 90 days from the
attorney licensing authority in a state in which you are admitted to practice (e.g., State Bar of Texas).

 

 

 

 

V. Applicant has also been admitted to practice before the following courts:

Court: Admission Date; Active or lnactive:
US Coiut of Appeals / 9th Circuit June 1987 Active

US Dist Ct / District ofCqumbia April 2010 Active

llighest Court ofthe State ofCA June 1987 Active
VI.

Applicant has never involuntarily lost, temporarily or permanently, the right to practice before
any court or tribunal, or resigned in lieu ofdiscipline, except as provided below:

N/A

Vll. Applicant has never been subject to grievance proceedings or involuntary removal proceedings_

regardless of outcomeiwhile a member of the bar of any state or federal court or tribunal that requires

admission to practice, except as provided below:

N//\

Vlll. Applicant has not been charged, arrested, or convicted ofa criminal offense or offenses, except

as provided below (omit minor traffic offenses):

N//\

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IX. Applicant has filed for pro hac vice admission in the United States District Court for the

Northern District of Texas during the past three (3) years in the following matters:

Date of Application: Case No. And Style:

 

 

 

(Ifnecessary, attach statement of additional applications.)

X. Local counsel of record associated with Applicant in this matter is

William B. l\/lateia (13185350) and D. Rockwell Bower (24087193) , who has offices at

2950 N. l'larwood St.` Suite 2100
(Strcct /\ddrcss)

 

 

Dallas TX 75201
(L`it_v) (State) (Zip Code)
214.397.0030 214.397.0033

(Tclcplione No.) ('Facsiniilc No.)

XI. Checl< the appropriate box below.

For Application in a Civil Case

Applicant has read D())idz` Pr()])erties Co)'p. v. Commerc€ Savs. & Loali A.s‘.s' ’11, 121
F.R.D.284 (N.D. Tex. 1988) (en banc), and the local civil rules of this court and will
comply with the standards of practice adopted in Dona’z' and with the local civil rules.

For Application in a Criminal Case

|:| Applicant has read and will comply with the local criminal rules ofthis court.

Xll. Applicant respectfully requests to be admitted to practice in the United States District Court for
the Noi‘thern District ot`Texas for this cause only. Applicant certifies that a true and correct copy ofthis
document has been served upon each attorney ofrecord and the original upon the clerk of court,

accompanied by a 325.00 filing fee, on this the 31~(1 day ofNo\/ember , 2017

 

`/lvree P. Jones/'iil:v /
` Pr' ited Name ofA plicany
S`ignjiure 7

  
     

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THE STATE BAR
OF CALIFORNIA

180 HOWARD STREET, SAN FRANCISCO, CALIFORNIA 94105-1617 TELEPHONE: 888-81')0-3400

 

 

CERT|F|CATE OF STAND|NG

November 1, 2017

TO VVHO|\/| |T |\/|AY CONCERN:

This is to certify that according to the records of the State Bar, TYREE
PRESTON JONES, #127631 Was admitted to the practice of law in this state
by the Supreme Court of Caiifornia on June 17, 1987; and has been since
that date, and is at date hereof, an /-\CT|VE member of the State Bar of
Ca|ifornia; and that no recommendation for discipline for professional or
other misconduct has ever been made by the Board of Trustees or a
Discip|inary Board to the Supreme Court of the State of Ca|ifornia.

THE STATE BAR OF CAL|FORN|A

Louise Turner
Custodian of i\/|embership Records

